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     Attorneys for Plaintiff
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     [ADDITIONAL PARTIES AND COUNSEL ON
 9   SIGNATURE PAGE]
10                                  UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12
     In re PayPal Honey Browser Extension               Case No. 5:24-cv-09470-BLF
13   Litigation
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                                                         PLAINTIFF’S NON-OPPOSITION TO
15                                                       ORDER TO SHOW CAUSE

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19
              Plaintiff, Daisy Luong, by and through undersigned counsel, hereby responds to this
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     Court’s Order to Show Cause [ECF.158] as to why the Luong v. PayPal Holdings, Inc., et al., No.
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     5:25-cv-2657-BLF (N.D. Cal.) should not be consolidated to the lower-numbered numbered In re
22

23   PayPal Honey Browser Extension Litigation, No. 5:24- cv-9470-BLF (N.D. Cal.). Plaintiff, Daisy

24   Luong, does not dispute the Order to Show Cause regarding the consolidation of the case.

25   Plaintiff acknowledges that consolidation of these cases may promote judicial efficiency and
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     reduce duplicate litigation.
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     Case 5:24-cv-09470-BLF   Document 162   Filed 05/09/25      Page 2 of 3



 1
     Date: May 9, 2025                 Respectfully Submitted,
 2

 3
                                       /s/ Bryan F. Aylstock
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     Case 5:24-cv-09470-BLF        Document 162          Filed 05/09/25     Page 3 of 3



 1                                  CERTIFICATE OF SERVICE
 2
            I hereby certify that on May 9, 2025 correct copy of the foregoing was electronically filed
 3

 4   with the Clerk of Court and served using the CM/ECF system.

 5

 6
                                                 /s/ Bryan F. Aylstock
 7                                               AYLSTOCK, WITKIN, KREIS
                                                 & OVERHOLTZ, PLLC
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                                                 Bryan F. Aylstock (FL Bar No. 78263)
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                                                                 PLAINTIFF’S RESPONSE SHOW CAUSE
                                                   -1-                         NO. 5:24-CV-09470-BLF
